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 1
 2                                 UNITED STATES DISTRICT COURT
 3
 4
                                   FOR THE DISTRICT OF COLUMBIA
 5
 6
 7   UNITED STATES OF AMERICA,                     Case No. 1:21-cr-00160-004 TJK
 8
 9
10
                        v.
11                                                 NOTICE OF WITHDRAWL OF
12
13
                                                   APPEARANCE
14   CORY KONOLD,
15
16                           Defendant
17
18
19                    Undersigned counsel respectfully informs the Court that he is
20
21   terminating his appearance as counsel of record in this matter. The defendant has
22
23
24   retained counsel.
25
26   Dated: April 27, 2021
27
28
                                                     Respectfully submitted,


                                                   Joseph R.             Digitally signed by Joseph R.
                                                                         Conte

                                                   Conte                 Date: 2021.04.27 09:24:09
                                                                         -04'00'
                                                     __________________________
                                                     Joseph R. Conte, Bar #366827
                                                     Counsel for Cory Konold
                                                     Law Office of J.R. Conte
                                                     400 Seventh St., N.W., #206
                                                     Washington, D.C. 20004
                                                     Phone:202.638.4100
                                                     Fax:         202.628.0249
                                                     E-mail:      dcgunlaw@gmail.com




     Withdrawal of Notice of Appearance                          Law Office of Joseph R. Conte
     U.S. v. Calhoun, Cr. No. 1:21-cr-160-                       400 Seventh St., N.W. #206
     004 TJK                                                     Washington, D.C. 20004
     Page -1-                                                    202.638.4100
                                                                 dcgunlaw@gmail.com
     APPEARANCE WITHDRAWAL
     21/04/27 09:23:36
